
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                                 ____________________

        No. 91-1905

                           NATIONAL LABOR RELATIONS BOARD,

                                     Petitioner,

                                          v.

                              AUCIELLO IRON WORKS, INC.,

                                     Respondent.


                                 ____________________

                    ON APPLICATION FOR ENFORCEMENT OF AN ORDER OF

                          THE NATIONAL LABOR RELATIONS BOARD

                                 ____________________

                                        Before

                                 Selya, Circuit Judge,
                                        _____________

                           Campbell, Senior Circuit Judge,
                                     ____________________

                             and Keeton,* District Judge.
                                          ______________

                                 ____________________

            John D. O'Reilly,  III, with whom O'Reilly  &amp; Grasso was on  brief
            ______________________            __________________
        for respondent.
            Collis  Suzanne  Stocking  with  whom  Jerry  M.  Hunter,  General
            _________________________              _________________
        Counsel, D. Randall Frye, Acting Deputy General Counsel, and Aileen A.
                 _______________                                     _________
        Armstrong,  Deputy  Associate  General  Counsel,  were  on  brief  for
        _________
        petitioner.


                                 ____________________

                                    July 21, 1995
                                 ____________________



                            
        ____________________

        *Of the District of Massachusetts, sitting by designation.















                      CAMPBELL, Senior Circuit Judge.  Several years ago,
                                ____________________

            the  National Labor Relations  Board ("the Board") petitioned

            this  court for enforcement of an order it had issued against

            Auciello Iron Works, Inc. ("the Company") pursuant to   10(e)

            of  the National  Labor Relations  Act,   29 U.S.C.    160(e)

            ("NLRA").   We affirmed, in large  part, the Board's decision

            underlying the order.  NLRB v. Auciello Iron Works, Inc., 980
                                   ____    _________________________

            F.2d  804   (1st  Cir.  1992).     However,  while  retaining

            jurisdiction, we  declined to enforce the  order and remanded

            to the Board for  further consideration of an issue  which we

            found  the Board to  have inadequately addressed.   The Board

            has now, at  long last, responded by  issuing a comprehensive

            supplemental  decision  and  order  addressing  the  problems

            raised  in  our opinion.    Auciello  Iron Works,  Inc.,  317
                                        ___________________________

            N.L.R.B. No.  60 (1995).   Pursuant to  our invitation,  both

            parties  have commented on the Board's opinion.  We now grant

            the Board's petition for enforcement of its order.

                      The Board issued its original order upon concluding

            that the Company  had committed an  unfair labor practice  in

            refusing to negotiate with the Shopmen's Local Union No. 501,

            a/w  International  Association  of  Bridge,  Structural  and

            Ornamental  Iron  Workers (AFL-CIO)  ("the  Union"),  a union

            certified  to   be   the  exclusive   collective   bargaining

            representative  for  a  number  of  the  Company's employees.

            Auciello  Iron Works, Inc., 303  N.L.R.B. 562 (1991).  During
            __________________________



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            negotiations for a  new collective bargaining agreement,  the

            Union   had  accepted  one   of  the   Company's  outstanding

            proposals.1   The Company, however,  subsequently refused  to

            sign  an agreement  based on that  proposal and  withdrew its

            recognition of the Union.

                      In   concluding  that   the  Company   had  thereby

            committed an  unfair labor  practice, the Board  affirmed the

            administrative law judge's refusal to  consider the Company's

            defense that,  at the time  the Union accepted  the Company's

            contract proposal, the Company entertained a good-faith doubt

            of  the Union's majority status.   The Board  thus refused to

            allow  the Company to present evidence that the Union in fact

            lacked majority support at the time it accepted the Company's

            outstanding offer.  In a footnote to its summary opinion, the

            Board wrote:

                      We agree  .  . .  that under  established
                      Board  precedent,  once  the Board  finds
                      that  the parties have  reached a binding
                      collective-bargaining  agreement,  it  is
                      unnecessary  to consider  the issue  of a
                      respondent's alleged  good-faith doubt of
                      the  union's  majority  status.   Belcon,
                                                        _______
                      Inc., 257  NLRB 1341, 1346  (1981); North
                      ____                                _____
                      Bros. Ford, 220 NLRB 1021, 1022 (1975).
                      __________

            Auciello Iron Works, Inc., 303  N.L.R.B. 562, 562 n.2 (1991).
            _________________________


                                
            ____________________

            1.   In  opposition  to  the  petition for  enforcement,  the
            company  challenged  the  continuing  availability,  and  the
            subsequent  acceptance, of  its  proposal.   In our  previous
            opinion, we affirmed the NLRB's finding that the proposal was
            still open and that the union had accepted it.  Auciello, 980
                                                            ________
            F.2d at 808-09.

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                      Unsatisfied with  the  Board's brief  treatment  of

            this issue, we remanded  for further consideration.  Although

            we  recognized that Board precedents clearly barred employers

            from  raising a  good-faith  doubt about  a union's  majority

            status  arising  from  events  occurring  after  the  parties
                                                      _____

            reached an agreement,  see, e.g., North Bros. Ford, Inc., 220
                                   ___  ____  ______________________

            N.L.R.B.  1021, 1022 (1975), we found it less clear that such

            a prohibition extended to  bar good-faith doubts arising from

            events occurring before the parties reached an agreement.  We
                             ______

            thus  objected  to  the   Board's  casual  extension  of  the

            "contract bar  rule" to  pre-agreement doubts about  majority

            status, without any reasoned  policy analysis to support that

            extension.  We were further troubled by the fact that neither

            party had addressed the Seventh Circuit's decision in Chicago
                                                                  _______

            Tribune Co. v.  NLRB, 965 F.2d 244 (7th Cir. 1992), which was
            ___________     ____

            handed down prior  to oral  argument in this  case and  which

            reached a result at odds with the Board's conclusion.  

                      Unlike  the Seventh  Circuit, however,  we  did not

            undertake to pass ultimate judgment on the appropriateness of

            the Board's policy judgment.  We noted instead that the Board

            "has  the  chief responsibility  for developing  coherent and

            correct labor negotiation rules" and that the question "calls

            for  the  Board's  reasoned  application  of  its expertise."

            Auciello, 960 F.2d at 812, 813.  We therefore remanded to the
            ________



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            Board,  ordering it  to  "revisit, clarify,  and explain  the

            principles   that   it   thinks   apply   in    the   present

            circumstances."  Id. at 812.
                             ___

                      The   Board   has   responded   with   a   thorough

            supplemental  decision   in  which  it  affirms  its  earlier

            conclusion, namely,  that an accepted offer  bars an employer

            from  later raising, as a defense to an unfair labor practice

            charge, a good faith doubt about the  union's majority status

            arising out  of events occurring  prior to the  acceptance of

            the  offer.  Auciello Iron  Works, Inc., 317  N.L.R.B. No. 60
                         __________________________

            (1995).    Now, however,  the Board  has  for the  first time

            articulated  the policy  considerations underlying  its rule,

            weighing  both the  advantages and  disadvantages of  varying

            rules in the specialized  collective bargaining context.  The

            Board  found  that  the  policies   underlying  the  relevant

            provisions of the NLRA and earlier Board precedents supported

            extending the  contract-bar rule  to cover good  faith doubts

            arising from  events occurring prior  to the acceptance.   In

            particular,  the  Board found  that  the  rule furthered  the

            policy of preserving stable  bargaining relationships and did

            not undermine  the policy of preserving  the workers' freedom

            to choose their own representatives.  Pursuant to our remand,

            the Board  also considered  the Seventh Circuit's  opinion in

            Chicago Tribune, concluding that it was inconsistent with the
            _______________

            policies underlying the NLRA.



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                      As earlier stated, the Board's  policy judgments on

            this type  of question are entitled  to substantial deference

            from the courts.  "Especially as the relevant principles here

            are  informed less by statutes than by Board policies set out

            in  its decisions, the area is one where the Board's presumed

            expertise is key."   Auciello, 960 F.2d at 812.   The public,
                                 ________

            the  bar, the parties, and  the courts are entitled, however,

            to  have the  Board's key  rulings supported  by "articulate,

            cogent,  and  reliable  analysis."   Id.  at  813  (citations
                                                 ___

            omitted).    Having  at  last  the  benefit  of  the  Board's

            explanation, we  are now  satisfied, as we  were not  before,

            that  the Board's  decision  is amply  supported by  rational

            application of its expertise.  While the question is  perhaps

            close, the  Board's policy choice  is reasonable and,  as now

            articulated, quite persuasive.  The Board's choice falls well

            outside the sphere  of arbitrariness that  might tempt us  to

            substitute our own judgments for  the Board's expertise on  a

            question  like this.  See Fall River Dyeing &amp; Finishing Corp.
                                  ___ ___________________________________

            v. NLRB, 482 U.S. 27, 42 (1987) ("If the Board  adopts a rule
               ____

            that is rational and  consistent with the Act, then  the rule

            is entitled to deference from the courts.")  

                      We  accordingly accept  the  Board's  ruling  that,

            absent  exceptional circumstances2, an  employer is barred in

                                
            ____________________

            2.   The  Company  seeks  to   bring  this  case  within  the
            exception set forth in the Board's opinion for cases in which
            a company's  good faith doubt arises  simultaneously with the

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            these   circumstances   from  raising,   after   the  union's

            acceptance  of its outstanding offer, a defense of good faith

            doubt as  to the union's  majority status premised  on events

            prior to that acceptance.   In adopting the Board's  rule, we

            reach a result different  from that of our sister  circuit in

            Chicago Tribune, Co., 915  F.2d at 250.  The  Seventh Circuit
            ____________________

            was,  however, without  the  benefit of  the Board's  present

            analysis.  We hope  the time and effort expended in this case

            will  cause  the  Board to  avoid  the  kind  of perfunctory,

            inarticulate   decision-making   that   caused  the   present

            difficulties.

                      The Company argues finally  that, even if we uphold

            the Board's decision, we  should condition enforcement of the

            Board's order upon a Board-supervised election to ensure that

            the  Union  still enjoys  the support  of  the workers.   The

            Company  cites NLRB  v. LaVerdiere's  Enter., 933  F.2d 1045,
                           ____     ____________________

            1053  (1st Cir.  1991), in  which we  refused to  enforce the

            Board's  bargaining  order and  instead  ordered an  election

            where: (1)  there existed  a showing of  substantial employee

            dissatisfaction  with  the  union  prior  to  the  employer's

            misconduct;  (2)  the  employer's misconduct  was  less  than

            egregious;  and (3) there had been an inordinate delay in the

                                
            ____________________

            union's acceptance of the offer.   See Auciello, 317 N.L.R.B.
                                               ___ ________
            No.  60,  at  11-12.   We  agree  with  the Board's  implicit
            conclusion that this case does not fall within the exception,
            as the Company had all of the relevant information to support
            its claim prior to its acceptance of the offer.

                                         -7-















            Board's decision.

                      Although there is  no doubt that a great  amount of

            time has elapsed since  the underlying unfair labor practice,

            we  are disinclined  to  order,  on  our own  initiative  and

            contrary to  the Board's requested relief, a Board-supervised

            election at  this point.   This case is  distinguishable from

            LaVerdiere's,   insofar  as  LaVerdiere's  involved  a  clear
            ____________                 ____________

            showing of employee dissatisfaction with the union.   In that

            case, the employees had filed a decertification petition with

            the Board,  and had  exhibited other substantial  evidence of

            dissatisfaction.   Id.  at  1048, 1054.    In this  case,  by
                               ___

            contrast, although there existed evidence that the strike was
                                                               ______

            losing  employee support,  the  evidence that  the Union  was
                                                               _____

            losing   employee  support   fell  far   short  of   that  in

            LaVerdiere's.  Accordingly, without meaning  to pass judgment
            ____________

            on  the propriety  of an  election should  one be  sought and

            considered in  another context, we enforce  the Board's order

            in its entirety.   See id. at 1053  (holding that the Board's
                               ___ ___

            choice of remedy is entitled to deference).

                      The order of the Board will be enforced. 
                      _______________________________________













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